              Case 1:05-cr-00127-OWW Document 35 Filed 09/29/05 Page 1 of 2


 1   QUIN DENVIR, Bar #49374
     Federal Defender
 2   ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   ROSA LOPEZ MENDOZA
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     )   No. 1:05-cr-00127 OWW
                                                   )
12                          Plaintiff,             )   STIPULATION TO CONTINUE STATUS
                                                   )   CONFERENCE AND ORDER THEREON
13          v.                                     )
                                                   )   Date: November 7, 2005
14   SERAFIN RODRIGUEZ MENDOZA, and                )   Time: 1:30 p.m.
     ROSA LOPEZ MENDOZA,                           )   Judge: Honorable Oliver W. Wanger
15                                                 )
                            Defendants.            )
16                                                 )
                                                   )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel, JONATHAN B. CONKLIN, Assistant United States Attorney, counsel for Plaintiff,
20   ANTHONY P. CAPOZZI, counsel for Defendant SERAFIN RODRIGUEZ MENDOZA, and ERIC V.
21   KERSTEN, Assistant Federal Defender, counsel for Defendant ROSA LOPEZ MENDOZA, that the
22   date for status conference in this matter may be continued to November 7, 2005. The date currently set
23   for status conference is October 3, 2005. The requested new date is November 7, 2005 at 1:30 p.m.
24          The reason for this request is that additional time is needed to complete defense review of the
25   discovery in this case and to conduct additional investigation and negotiations. Both defendants are on
26   pretrial release and not in custody.
27          The parties agree that the delay resulting from the continuance shall be excluded as necessary for
28   ///
               Case 1:05-cr-00127-OWW Document 35 Filed 09/29/05 Page 2 of 2


 1   effective defense preparation pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv).
 2
 3                                                              McGREGOR W. SCOTT
                                                                United States Attorney
 4
 5           DATED: September 28, 2005                       By /s/ Jonathan B. Conklin
                                                               JONATHAN B. CONKLIN
 6                                                             Assistant United States Attorney
                                                               Attorney for Plaintiff
 7
 8
             DATED: September 28, 2005                       By /s/ Anthony P. Capozzi
 9                                                             ANTHONY P. CAPOZZI
                                                               Assistant Federal Defender
10                                                             Attorney for Defendant
                                                               SERAFIN RODRIGUEZ MENDOZA
11
12                                                              QUIN DENVIR
                                                                Federal Public Defender
13
14           DATED: September 28, 2005                     By /s/ Eric V. Kersten
                                                        ERIC V. KERSTEN
15                                                            Assistant Federal Defender
                                                              Attorney for Defendant
16                                                            ROSA LOPEZ MENDOZA
17
18
19
20
                                                    ORDER
21
             IT IS SO ORDERED. The intervening period of delay is excluded in the interests of justice
22
     pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv).
23
             DATED: September _28__, 2005
24                                                              /s/ OLIVER W. WANGER
25
                                                                OLIVER W. WANGER, Judge
26                                                              United States District Court
                                                                Eastern District of California
27
28


     Stipulation to Continue Status Conference           2
